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     JOSEPH NOLAN
 7

 8
                     IN THE UNITED STATES DISTRICT COURT
 9
                  EASTERN DISTRICT OF CALIFORNIA, FRESNO
10

11   UNITED STATES OF AMERICA,          ) Case No.: 1:10-CR-00131-AWI
                                        )
12             Plaintiff,               )
                                        )
13       vs.                            ) AMENDED STIPULATION AND
                                        ) ORDER TO EXONERATE BOND
14   JOSEPH NOLAN,                      )
                                        )
15             Defendant.               )
                                        )
16
          TO THE ABOVE-ENTITLED COURT AND THE UNITED                        STATES
17   ATTORNEY FOR THE EASTERN DISTRICT OF CALIFORNIA:
18

19       IT IS HEREBY STIPULATED AND AGREED between Plaintiff,
20   United States of America, and Defendant, JOSEPH NOLAN, by and
21   through his attorney of record, Anthony P. Capozzi, that the
22   following property bonds posted as collateral in the above
23   referenced matter be exonerated and the Deeds returned.
24       1.    Joseph   J.   Nolan    and   Blanca     E.   Nolan,       Deed   No.
25   20100325-00046357-0 – Docket # 11 (filed March 29, 2010).
26       2. Blanca E. Nolan, Deed No. 2010-0116787 – Docket #13
27   (filed March 29, 2010).
28




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 1                            This Stipulation is based upon the fact that Pre-Trial
 2   Services for the Central and Eastern Districts of California
 3   believe that Defendant is in full compliance and shows no
 4   signs of noncompliance.
 5

 6   DATED: March 28, 2013                                       Respectfully submitted,
 7                                                               /s/Karen A . Escobar
                                                                 United States Attorney
 8

 9
     DATED: March 28, 2013                                       Respectfully submitted,
10
                                                                 /s/Anthony P. Capozzi
11                                                               ANTHONY P. CAPOZZI
                                                                 Attorney for, JOSEPH NOLAN
12

13

14
                                                          * * * * *

15
                                                            ORDER
16

17
                              IT IS HEREBY ORDERED that the property bonds posted to
18
     secure the release of Defendant, Joseph Nolan is exonerated.
19
     The Clerk of the Court shall immediately reconvey the real
20
     property posted to secure Mr. Nolan’s release.
21
                              IT IS SO ORDERED.
22

23

24
     IT IS SO ORDERED.
25

26
                           Dated:   March 28, 2013                   /s/ Barbara A. McAuliffe   _
     DEAC_Signature-END:
                                                               UNITED STATES MAGISTRATE JUDGE
27

28
     10c20kb8554



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